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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



  NETLIST, INC.                              Civil Case No. 2:21cv463-JRG

             Plaintiff,                      JURY TRIAL DEMANDED

  v.

  SAMSUNG ELECTRONICS CO., LTD.,
  SAMSUNG ELECTRONICS AMERICA, INC.
  and SAMSUNG SEMICONDUCTOR, INC.,

             Defendants.



                    SAMSUNG’S DAUBERT MOTION AND
         MOTION TO STRIKE EXPERT TESTIMONY OF DAVID KENNEDY
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 narrative that goes far beyond his damages expertise and this case. For example, even though

 this is a patent infringement case, Mr. Kennedy suggests that



                                   Further, he reviews a



 He also says



                        These inflammatory comments have no place in any expert opinion.

 I.     GOVERNING LAW

        The Supreme Court in Daubert charged trial courts with a gatekeeping task: determining

 whether expert testimony under Rule 702 is “not only relevant, but reliable.” Daubert v. Merrill

 Dow Pharms., 509 U.S. 579, 589 (1993); see also Burleson v. Tex. Dep’t Crim. Justice, 393 F.3d

 577, 587 (5th Cir. 2004) (noting a court is not required to “admit opinion evidence that is

 connected to existing data only by the ipse dixit of the expert” or where “there is too great an

 analytical gap between the data and the opinion proffered”).

        In patent cases, the Federal Circuit has imposed significant constraints on expert damages

 testimony to ensure damages are limited to the value of claimed inventions. For example, in

 VirnetX, the Federal Circuit vacated a $368 million jury verdict where “the district court should

 have exercised its gatekeeping authority to ensure that only theories comporting with settled

 principles of apportionment were allowed to reach the jury.” VirnetX, 767 F.3d at 1328. In that

 case, the Federal Circuit held the testimony of plaintiff’s expert should have been excluded

 because the expert failed to apportion the value of the accused technology in a larger accused

 product, id. at 1328-29, and the expert used an arbitrary percentage to split profits between the

 licensor and licensee at the hypothetical negotiation, id. at 1331-33. More recently, the Federal
                                                  2
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 Circuit ordered a new trial where Mr. Kennedy’s opinions were “untethered to the facts of this

 case.” Apple Inc. v. Wi-LAN Inc., 25 F.4th 960, 973 (Fed. Cir. 2022).2

 II.    ARGUMENT

        A.     Mr. Kennedy’s Opinions Are Legally Improper

               1.                          The Court Should Exclude Mr. Kennedy’s
                       Alleged           Damages for Failing To Apportion

        To calculate the          end of his damages range, Mr. Kennedy attributes            of



                                                                          . Ex. A at Ex. 1.

 Specifically, Mr. Kennedy’s



                                                                          E.g., Ex. A at Exs. 4, 5, 7,

 11 (all purporting to calculate “Loss Under NIA”). Using the accused HBM2 8H products as an

 example, he opines




   2
     This Court has also excluded patent damages opinions, both on grounds for failure to
 apportion and for being arbitrary ipse dixit. E.g., Uniloc USA, Inc. v. Samsung Elecs. Am., Inc.,
 No. 2:17-CV-00651-JRG, 2019 WL 2267212, *14 (E.D. Tex. May 28, 2019) (striking damages
 theory for lack of apportionment); Eidos Display, LLC v. Chi Mei Innolux Corp., No. 6:11-CV-
 00201-JRG, 2017 WL 1322555, *4-5 (E.D. Tex. Apr. 6, 2017) (excluding opinion for failure to
 apportion); Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc., No. 2:14-CV-911-JRG, 2016
 WL 4440255, *14 (E.D. Tex. Aug. 23, 2016) (ordering new trial where damages opinions were
 not adequately tied to facts of the case), aff’d, 880 F.3d 1356 (Fed. Cir. 2018); Bmc Software,
 Inc. v. Servicenow, Inc., No. 2:14-CV-903-JRG, 2016 WL 379620, *2-3 (E.D. Tex. Feb. 1, 2016)
 (striking ipse dixit and also ordering new report for failure to apportion).


                                                3
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                                                                             Ex. A at ¶¶ 207, 620,

 625; id. at Ex. 1. Contrary to clear law, Mr. Kennedy’s

                   an inflated version of the per se improper “25% Rule,” which should be called

 the

         This approach is facially unreliable. Mr. Kennedy admits the



 For example, he acknowledges evidence that Samsung offers



 Ex. A at ¶ 177. The patents-in-suit are not related to semiconductor process technology at all, let

 alone                                             yet

                                            He also acknowledges the



                                                                                            Id. at

 ¶227. In other words, Mr. Kennedy refuses to consider the value of



                                 That is illogical and stands the Federal Circuit’s apportionment

 requirement on its head.

         The cornerstone of Federal Circuit patent damages law is apportionment. E.g., Bmc

 Software, 2016 WL 379620 at *2 (quoting Uniloc, 632 F.3d at 1318 (Fed. Cir. 2011) and

 Garretson v. Clark, 111 U.S. 120, 121 (1884)). Since Mr. Kennedy fails to apportion



  3
     Note that Mr. Kennedy targets revenue—not profit—Samsung earned on the sales of the
 accused products for this “higher” number. By using revenue rather than profit, Mr. Kennedy
 starts from a grossly inflated position, which leads to his         damages number.
                                                  4
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                     .8 Compounding the error, Mr. Kennedy then



                                                                  An expert may be entitled to

 offer alternate calculations and explain why one is preferred, but Mr. Kennedy offers no

 explanation for this difference                                              See Bmc Software,

 2016 WL 379620 at *2 (striking ipse dixit); Core Wireless, 2016 WL 4440255 at *14; Eidos,

 2017 WL 1322555 at *2; see also VirnetX, 767 F.3d at 1333; Burleson, 393 F.3d at 587.

          Since all of Mr. Kennedy’s royalty calculations are based on          , the Court should

 exclude those calculations too. Specifically, the Court should exclude at least Kennedy Exs. 1-

 13, 19, and 21-23, paragraphs 162-249 and 515-636.

          B.      The Court Should Exclude Mr. Kennedy’s

          If the Court accepts Mr. Kennedy’s invitation to error and allows his flawed opinions

 about the supposed value of the patented technology as described in the previous section

                                   the Court should still reject Mr. Kennedy’s opinion that

                                                                                        . Ex. A at

 ¶¶ 207, 620, 625; id. at Ex. 1. The Federal Circuit rejected the 25% profit split rule-of-thumb in

 Uniloc and the 50% (Nash) rule-of-thumb in VirnetX, but Mr. Kennedy’s substitutes a 100%

 rule. See Uniloc, 632 F.3d at 1320; VirnetX, 767 F.3d at 1332-34.

          Mr. Kennedy never acknowledges his departure from Uniloc and VirnetX, and barely

                         .9 Ex. A at ¶¶ 207, 620, 625. Mr. Kennedy’s assertion also runs counter

 to the multi-factor analysis of Georgia-Pacific, which is used to determine how the licensor and


   8


   9
       In fact, Mr. Kennedy is exceeding
          as dictated by prevailing law.
                                                  9
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 licensee will share the benefit of the alleged invention. Indeed, even Mr. Kennedy

                                                  . Id. at ¶ 597. He also describes



                                                                                              Id. at

 ¶ 598. Thus, Mr. Kennedy admits that



                                          without any reasoned explanation. His opinion is that



                                                 To the contrary, in the hypothetical negotiation,

 no one would agree to work or take risks for free.

        The Court should exclude Mr. Kennedy’s                —and his resulting conclusions—for

 being as arbitrary as the 25% and 50% rules rejected by the Federal Circuit, and also for being

 based on Mr. Kennedy’s say-so rather than any market evidence. Specifically, the Court should

 exclude at least Kennedy Exhibits 1-13, 19, and 21-23, paragraphs 162-249 and 515-636.

        C.      The Court Should Exclude Mr. Kennedy’s Opinions that Rely on the
                Regression Opinion of Dr. Groehn

        Even if the Court allows Dr. Groehn’s regression on DDR4,10 the Court should exclude

 Mr. Kennedy’s application of Dr. Groehn’s DDR4 regression to the accused DDR5 products.

 Specifically, Dr. Groehn conducted this regression on



 Ex. A at ¶ 107. Relying on Dr. Groehn’s conclusions, Mr. Kennedy then

                                                      . Ex. A at Exs. 4 and 8 (premised on Dr.


    As explained in Samsung’s motion to strike Dr. Groehn’s opinions, Dr. Groehn’s regression
   10

 model should be excluded. Without Dr. Groehn’s opinion for DDR4, Mr. Kennedy has no
 damages opinion about the accused DDR4 and DDR5 products.
                                                 10
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 Groehn’s                    ). It is impermissibly arbitrary for Mr. Kennedy to rely on data



             E.g., Core Wireless, 2016 WL 4440255 at *14. Indeed, Mr. Kennedy says the parties

 to the hypothetical negotiation would u

 (Ex. A at ¶ 221), but elsewhere he uses



                                                     E.g., Ex. A at ¶¶ 501, 619, 624.

        The Court should exclude Mr. Kennedy’s application of Dr. Groehn’s

                                 including Kennedy Exhibits 1-4, 6, 8, paragraphs 103-107, 216-

 223, and 593.

        D.       The Court Should Exclude Mr. Kennedy’s Reliance on Agreements He Says
                 Are

        Mr. Kennedy’s calculates his damages in this case without any consideration of



                                                             After refusing to rely on

                 Mr. Kennedy nonetheless

                                                         Ex. A at ¶¶ 468-491. Specifically, he

 opines that




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                                                                                       See Ex. B

 (Supp. Expert Rep. of D. Kennedy, served Jan. 20, 2023) at ¶ 18. It is clear Dr. Kennedy’s only

 goal is to show             licenses to the jury, even though he admits

        Mr. Kennedy cannot have it both ways for these licenses that do not include the patents-

 in-suit. The Federal Circuit does not permit reliance on non-comparable licenses. Lucent Techs.,

 Inc. v. Gateway, Inc., 580 F.3d 1301, 1325 (Fed. Cir. 2009) (reversing on this basis); see also

 ResQNet, 594 F.3d at 869-73 (same). In addition, an expert cannot use an otherwise

 inadmissible data point as a “check” of reasonableness. Uniloc, 632 F.3d at 1321.

        The Court, therefore, should exclude Mr. Kennedy’s opinions based on Samsung’s

 licenses that he argue are not comparable,                            . The Court should thus

 exclude at least Kennedy Exs. 1-13, 19, 21-23, and 27, paragraphs 162-491 and 515-636, and his

 1-20-23 supplemental report in its entirety.

        E.      The Court Should Exclude Mr. Kennedy’s Irrelevant, Prejudicial Opinions

                1.      The Court Should Exclude Mr. Kennedy’s Attempt To Relitigate the
                        Parties’

        Mr. Kennedy claims to be “an expert in intellectual property valuation, licensing, and

 transactions.” Ex. A at ¶ 1. Yet Mr. Kennedy spends many pages of his report



                       For example, Mr. Kennedy says he has

                                                                      Ex. A at ¶ 326. Such



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 opinion is improper and prejudicial. This is a patent case, not a breach of contract case, and the

 jury here would be unduly confused by the injection of Mr. Kennedy’s opinions about

           And despite admitting he is



                                                                      E.g., Ex. A at ¶¶ 292, 304,

 346. Under Federal Rules of Evidence 402 and 403, the Court should exclude at least Kennedy

 Exs. 24-26, paragraphs 61-64, 70-73, 288-355, 368, 503, 510, 601-611, 614, 619, 622, and 625.

                2.      The Court Should Exclude Mr. Kennedy’s Other Prejudicial
                        Opinions Outside His Expertise or the Scope of This Case

        Much of the narrative of Mr. Kennedy’s report consists of attacks on Samsung that are

 beyond his expertise as a damages expert, irrelevant, and/or unduly prejudicial. For example,




                                                               (id. at ¶¶ 61, 99). These opinions

 are irrelevant and unduly prejudicial. In addition, since Mr. Kennedy is not an expert in

 psychology or ethics, he is not qualified to give most of these opinions.

        Mr. Kennedy also offers opinions about

              . See Ex. A ¶¶ 53, 509, Ex. 19. Notably, Mr. Kennedy confuses



 and should not be permitted to testify about

        The Court should exclude Mr. Kennedy’s opinions identified above. Specifically, the


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 Court should exclude at least Kennedy Exs. 1, 3, 10, 19 and paragraphs 53-57, 61, 66-67, 70, 72-

 73, 99, 191-92, 316, 492-96, 502, 509, 614, and 618.

         F.       The Court Should Exclude Mr. Kennedy’s

         Mr. Kennedy offers naked ipse dixit that Netlist                                    See Ex.

 A at ¶ 629. This opinion is unreliable, lacking evidence, and lacking methodology where he

 simply asserts                                                                  . The Court

 should exclude Mr. Kennedy’s            opinions, including at least Kennedy paragraphs 98-99,

 577-79, and 626-30.

         G.       The Court Should Exclude Opinions About

         More than              of Mr. Kennedy’s damages calculations represents royalties for

                                                                  Ex. A at Ex. 2. Mr. Kennedy’s

 approach is not authorized by statute, and it is also highly prejudicial. Under the Patent Act, “the

 court shall award the claimant damages adequate to compensate for the infringement.” 35

 U.S.C. § 284. On its face, this statute does not apply to infringement that has not happened. Id.;

 see also In re Apotex, Inc., 49 F. App’x 902 (Fed. Cir. 2002). Seeking a lump sum is a choice

 that defendants can make—to pay for the future—but not one that plaintiffs can require.

 Regardless, Mr. Kennedy does not offer an opinion as to a

                                                            Ex. A at ¶ 563.

         Further, there is no reason for the presumption of infringement and validity at issue in the

 hypothetical negotiation to apply to future activity. To the contrary, Mr. Kennedy’s opinions

 about                      are entirely speculative, making assumptions that:




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 Date: February 3, 2023              Respectfully submitted,

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                                     Samsung Semiconductor, Inc.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was filed

 electronically in compliance with Local Rule CV-5 on February 3, 2023. As of this date, all

 counsel of record have consented to electronic service and are being served with a copy of this

 document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A) and by email.


                                                      /s/ Thomas H. Reger II



                              CERTIFICATE OF CONFERENCE

        Pursuant to Local Rules CV-7(h) and (i), counsel for the parties met and conferred

 telephonically on February 2, 2022. Michael Tezyan and Yanan Zhao attended for

 Plaintiff. Katherine Reardon and Travis Underwood attended for Defendants. The parties

 discussed their position on this motion. The discussions conclusively ended in an impasse,

 leaving an open issue for the court to resolve. Counsel for Plaintiff indicated that they oppose

 this motion.


                                                      /s/ Thomas H. Reger II




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